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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN


LEAH FLEISHER, next friend of J.F.,
         Plaintiff,
                                                                 Hon Janet T. Neff.
v.
                                                                 Case No. 1:14-cv-01160
EMMETT, CHARTER TOWNSHIP OF, et
al.,

         Defendants.
________________________________/

                           REPORT AND RECOMMENDATION

         On August 27, 2015, in response to plaintiff's motion for appointed counsel (Dkt.

41) the court issued an order (Dkt. 46) denying the motion for appointed counsel and

stating as follows:

         Plaintiff is hereby advised that a non-attorney parent cannot represent a
         child. Shepherd v. Wellman, 313 F.3d 963, 970 (6th Cir. 2002), so Plaintiff
         will not be allowed to proceed pro se if and when she terminates her
         relationship with current counsel Mickey David Larson. Plaintiff is hereby
         given 28 days to secure substitute counsel. See, Beard v. Hawkins, 2015
         WL 3915877 (E.D. Mich., June 25, 2015). The case is stayed for 28 days.

         The stay of this matter has expired and no substitute counsel has appeared. In

addition, according to the court’s administrative order of September 22, 2015 (15-AD-

64-2), attorney Mickey David Larson has been suspended from practice in this district.

As such, he can no longer participate in this case.

         The undersigned recommends that: 1) Mickey David Larson be removed as

attorney of record for plaintiff in this case; 2) the pro se objections (Dkt. 43, Dkt. 44) filed

by Leah Fleisher in response to the earlier report and recommendation (Dkt. 40) be

stricken; and 3) this matter be dismissed pursuant to Fed. R. Civ. P. 41(b) and
    Case 1:14-cv-01160-JTN ECF No. 47 filed 09/28/15 PageID.195 Page 2 of 2



W.D.Mich. L.Civ.R. 41.1 for want of prosecution and failure to comply with the rules and

orders of this court. Timely objections to this Report and Recommendation shall be

considered Plaintiff’s final opportunity to show cause why this matter should not be

dismissed.



Date: September 28, 2015                                /s/ Ellen S. Carmody
                                                        ELLEN S. CARMODY
                                                        U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk

of Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C).

Failure to file objections within the specified time waives the right to appeal the District

Court’s order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638

F.2d 947, 949-50 (6th Cir. 1981).




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